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3    Santa Ana, CA 92705
     Ph: (949) 427-2010
4    Fax: (949) 427-2732
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5
6    Authorized Agent for Creditor
     US Bank Trust N.A., as Trustee of Igloo Series III Trust
7
                              UNITED STATES BANKRUPTCY COURT
8
                   WESTERN DISTRICT OF TEXAS – SAN ANTONIO DIVISION
9
10   In Re:                                               )   CASE NO.: 13-53378-cag
11                                                        )
     MANUEL FERNANDO GOMEZ and                            )   CHAPTER 13
12   KRISTIN BETH RIZZUTO GOMEZ,                          )
                                                          )   CERTIFICATE OF SERVICE
13
              Debtors.                                    )
14                                                        )
                                                          )
15                                                        )
                                                          )
16
                                                          )
17
18
                                      CERTIFICATE OF SERVICE
19
20            I am employed in the County of Orange, State of California. I am over the age of

21   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
22
     Santa Ana, CA 92705.
23
              I am readily familiar with the business’s practice for collection and processing of
24
     correspondence for mailing with the United States Postal Service; such correspondence would
25
26   be deposited with the United States Postal Service the same day of deposit in the ordinary

27   course of business.
28




                                                      1
                                       CERTIFICATE OF SERVICE
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1    On March 21, 2019, I served the following documents described as:
2
                   RESPONSE TO NOTICE OF FINAL CURE PAYMENT
3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
4
     envelope addressed as follows:
5
6    (Via United States Mail)
     Debtor                                              Chapter 13 Trustee
7    Manuel Fernando Gomez                               Mary K Viegelahn
     8838 Toulouse                                       Chapter 13 Trustee
8    San Antonio, TX 78240                               10500 Heritage Blvd Suite 201
                                                         San Antonio, TX 78216
9    Joint Debtor
10   Kristin Beth Rizzuto Gomez
     8838 Toulouse
11   San Antonio, TX 78240

12   Debtor’s Counsel
     William R. Davis, Jr
13   Langley & Banack, Inc
     745 E Mulberry Ave, Suite 900
14   San Antonio, TX 78212
15
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
16   the United States Postal Service by placing them for collection and mailing on that date
17   following ordinary business practices.

18   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
19
20   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
21
            Executed on March 21, 2019, at Santa Ana, California
22
23   /s / Steven P. Swartzell
     Steven P. Swartzell
24
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
